Case 2:20-cv-00168-SPC-NPM Document 32 Filed 06/04/20 Page 1 of 2 PageID 179



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

RONALD TONGE,

       Plaintiff,

v.                                                 Case No.: 2:20-cv-168-FtM-38NPM

NOVARTIS PHARMACEUTICALS
CORPORATION,

       Defendant.
                                             /

                                             ORDER

       On June 4, 2020, the Court held a preliminary pretrial conference.              At the

conference, the parties jointly requested that the Court enter a Rule 502(d) order. As set

forth below, the oral motion is granted.

       1. This Order shall be applicable to and govern all deposition transcripts and/or

           videotapes, and documents produced in response to requests for production of

           documents, answers to interrogatories, responses to requests for admissions,

           affidavits, declarations and all other information or material produced, made

           available for inspection, or otherwise submitted by any of the parties in this

           litigation as well as testimony adduced at trial or during any hearing (collectively

           “Information”).

       2. The       disclosure   of   privileged   or   work-product   protected   documents,

           electronically stored information (“ESI”) or Information, whether inadvertent or

           otherwise, is not a waiver of the privilege or protection from discovery in this

           case or in any other federal or state proceeding.             This Order shall be
Case 2:20-cv-00168-SPC-NPM Document 32 Filed 06/04/20 Page 2 of 2 PageID 180



          interpreted to provide the maximum protection allowed by Federal Rule of

          Evidence 502(d).

      3. Nothing contained herein is intended to or shall serve to limit a party’s right to

          conduct a review of documents, ESI or Information (including metadata) for

          relevance, responsiveness and/or segregation of privileged and/or protected

          Information before production.

      Accordingly, it is hereby ORDERED:

             The Oral Joint Motion for Entry of a 502(d) Order is GRANTED.

      DONE and ORDERED in Fort Myers, Florida on June 4, 2020.




Copies furnished to:

Counsel of Record




                                           -2-
